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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 SANANGELO DTVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                           NO. 6:21-CR-042-01-}]

JAMES WILLIAM DAVIS,
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TTIE UNITED STATES MAGISTRATE JI]DGE
                            CONCERNING PLEA OF GIJILTY

         After reviewing all relevant matters of record, including the Notice Regarding Enry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.
                         /
         Dated October J.,A-,2021   .




                                            JAMES           EYHENDRIX
                                            UNITED       ATES DISTRICT JUDGE
